                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

JILLIAN BLENIS and LILI MITCHELL,
individually and on behalf of all others
similarly situated,
                                                    Civil Action No. 1:21-cv-11019-IT
                        Plaintiffs,

                   v.

THINX INC.,

                        Defendant.


                   NOTICE OF VOLUNTARY DISMISSAL
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)


       NOTICE IS HEREBY GIVEN that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), Plaintiffs Jillian Blenis and Lili Mitchell hereby voluntarily dismiss the above-

captioned action without prejudice, with each party to bear its own costs and expenses, including

attorneys’ fees.


 Dated: June 27, 2022                                  MILBERG COLEMAN BRYSON PHILLIPS

                                                  By: /s/ Erin J. Ruben
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                                CERTIFICATE OF SERVICE

       Pursuant to Local Rule 5.4(c), I hereby certify that on this 27th day of June, 2022, I

caused a true and correct copy of the foregoing document to be electronically filed with the Clerk

of the Court using the CM/ECF system, which sent notification of such filing to all counsel of

record by electronic means.


                                                     /s/ Erin J. Ruben
                                                         Erin J. Ruben

                                                     Attorneys for Plaintiffs
                                                     Jillian Blenis and Lili Mitchell




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